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                               EXHIBIT B:
Amendments and Corrections to July 15, 2024, List of Colleges & Universities
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List   State   Identified As                          Amendment or Change
Date
7/15   VA      Liberty University Online Academy      Move from College & University
               (Lynchburg, VA)                        list to K-12 list
7/15   CA      Columbia College (CA)                  Columbia College (Sonora, CA)
7/15   GA      Piedmont College                       Piedmont University
7/15   MI      Rochester College                      Rochester Christian University
                                                      (Rochester Hills, MI)
7/15   IN      Saint Mary’s College                   St. Mary’s College (Notre Dame,
                                                      IN)
7/15   IL      Wheaton College                        Wheaton College (Wheaton, IL)
7/15   IN      Indiana University-Purdue University   Purdue Fort Wayne (Fort Wayne,
               Fort Wayne                             IN)
7/15   MI      Grace Bible College                    Grace Christian University (Grand
                                                      Rapids, MI)
7/15   VA      Lord Fairfax Community College         Laurel Ridge Community College
7/15   PA      Mansfield University of Pennsylvania   Commonwealth University of
                                                      Pennsylvania at Mansfield
7/15   MT      Montana Tech of the University of      Montana Technological University
               Montana
7/15   IN      Purdue University Calumet              Purdue University Northwest
7/15   NJ      Rowan College at Gloucester County     Remove subject to reinclusion upon
                                                      identification of campus
7/15   NY      Empire State College                   Empire State University
7/15   NY      Touro College                          Touro University
7/15   TX      US Army—Baylor University              Remove as duplicative of Baylor
                                                      University listing
7/15   TX      Mountain View College                  Dallas College—Mountain View
                                                      Campus
7/15   NC      Davidson County Community College      Davidson-Davie Community
                                                      College




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